         Case 3:12-cr-05228-WQH                  Document 193            Filed 06/30/15              PageID.927            Page 1 of 2

    ~A0245D      (Rev. 3/01) Judgment in a Criminal Case for Revocations
                 Sheet I


                                        UNITED STATES DISTRICT COURT
                     SOUTHERN                                    District of                                  CALIFORNIA
                  UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE                                "Tt1
                                   v.                                     (For Revocation of Probation or Supervised Release)
                      JESSE GONZALEZ (2)                                  (For Offenses Committed On or After November 1, 1987)


                                                                          Case Number: 12CR5228-WQH
                                                                          JOHN COTSIRlLOS, CJA
                                                                          Defendant's Attorney
    REGISTRATION No. 35870298
o   THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No.

     D was found in violation ofallegation(s) No.                                                 after denial of guilt.
                                                 ------------------------
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allegation Number             Nature of Violation
             1        Failure to complete punitive RRC placement (nv24)




       Supervised Release      is revoked and the defendant is sentenced as provided in pages 2 through             2      of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and Umted States attorney of any material change in the
    defendant's economic circumstances.

                                                                          JUNE 29,2015
                                                                         Date ofImposition of Sentence




                                                                          HON. WILLIAM Q. HAYES
                                                                          UNITED STATES DISTRlCT JUDGE




                                                                                                                              12CR5228-WQH
      Case 3:12-cr-05228-WQH                        Document 193          Filed 06/30/15      PageID.928          Page 2 of 2
AO 245B     (Rev. 9100) Judgment in Criminal Case
            Sheet 2 Imprisonment

                                                                                               Judgment - Page _ _2 _ of          2
DEFENDANT: JESSE GONZALEZ (2)
CASE NUMBER: 12CR5228-WQH
                                                             IMPRISONMENT

          The defendant is hereby committed to the custody ofthe United States Bureau of Prisons to be imprisoned for a term of
          5 months



   o      The court makes the following recommendations to the Bureau of Prisons:




    D The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
            Oat                                     [)t.m.    Q.m.       on
                as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D before
           D as notified by the United States Marshal.
           D as notified by the Probation or Pretrial Services Office.

                                                               RETURN
 I have executed this judgment as follows:

          Defendant delivered on                                                  to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.



                                                                                             UNITED STATES MARSHAL


                                                                     By
                                                                                         DEPUTY UNITED STATES MARSHAL




                                                                                                                      12CR5228-WQH
